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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF INDIANA
                               NEW ALBANY DIVISION


 LOUIS and KAREN METRO FAMILY, LLC, and              )
 SOUTHERN OHIO PIZZA, INC.,                          )
                                                     )
                                 Plaintiffs,         )
                                                     )
                     v.                              )     4:06-cv-177-WGH-DFH
                                                     )
 LAWRENCEBURG CONSERVANCY DISTRICT,                  )
 and CITY OF LAWRENCEBURG,                           )
                                                     )
                                 Defendants.         )




                          ENTRY ON CROSS-MOTIONS FOR
                          PARTIAL SUMMARY JUDGMENT


                                    Introduction

       This matter is before the Honorable William G. Hussmann, Jr., United

 States Magistrate Judge,1 on Defendants’ Motion for Partial Summary Judgment

 on Remand filed November 15, 2010. (Docket Nos. 161-62). Plaintiffs filed a

 response and cross-motion on December 17, 2010. (Docket Nos. 165-66).

 Defendants filed a response to the Plaintiff’s cross-motion on January 3, 2010.

 (Docket No. 168).




       1
        In their Case Management Plan filed March 30, 2007, the parties consented to
 Magistrate Judge jurisdiction in this case. (Docket No. 15). Then-District Judge David
 Frank Hamilton entered an Order of Reference on April 3, 2007. (Docket No. 16).
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                                      Analysis

        On remand from the United States Court of Appeals for the Seventh

 Circuit, the Magistrate Judge has been instructed to determine the appropriate

 remedy for a breach of contract. Specifically, the Seventh Circuit concluded that

 Metro deserved the full benefit of its bargain and explained as follows:

       In our view, the closest that one can come to making Metro Family
       whole for the shortfall in compensation is to determine how much it
       lost at the moment that the option became impossible to exercise
       . . . . If expert testimony shows that the tract on the relevant date was
       worth more than the option price of $269,490, then Metro Family
       suffered a loss equal to the difference between the actual value and
       the option price; interest would also be due on any such loss, up to
       the date when the damages are paid. If it was worth the same or
       less than the option price, then Metro Family did not suffer any
       damages and it should take nothing.

 Louis and Karen Metro Family, LLC v. Lawrenceburg Conservancy Dist., 616 F.3d
 618, 625 (7th Cir. 2010).

       The Option provides, in clear and unambiguous language, the following:

       9.    The District shall convey a valid, indefensible fee simple title,
       unencumbered except as to the easements stated in paragraph 2
       above.

                                       *****

       11. The District agrees that the property will be excavated and left
       by the District in a reasonable manner to facilitate Metro’s plans to
       rebuild a facility on the property to be conveyed as a result of the
       exercise of this Option.

       The term “excavated” is not defined in the Option. The Websters

 Dictionary in effect in 2001, when the Option was drafted, defines “excavate” as

 follows:




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       1) to form a cavity or hole in
       2) to form by hollowing
       3) to dig out and remove
       4) to expose by digging away a covering.

 Nothing in the definitions of the term “excavate” suggests that the District was

 required to bring in fill dirt or other material to raise the level of the ground to

 “facilitate” rebuilding. Therefore, the Magistrate Judge concludes that the

 appraisals needed to determine the actual value of the real property at issue

 should be based on the following assumptions:

       1. The land to be purchased is as described in Exhibits A and B to the

 Option.

       2. The land is subject to the easements and restrictions listed in

 paragraph 2 of the Option.

       3. The title to be conveyed is as described in paragraph 9 of the Option.

       4. Prior to exercise of the Option, the real estate would be “excavated” to

 remove any physical obstructions which would prohibit or impede the building of

 a structure, but such excavation would not require the District to provide fill

 material to raise the elevation higher than the elevation which existed on

 November 17, 2005.

       5. The value established would be the value reached between a willing

 buyer and a willing seller on November 17, 2005.2




        2
           The parties have stipulated that this is the appropriate date of valuation.

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                                    Conclusion

       For the reasons outlined above, the Defendants’ Motion for Partial

 Summary Judgment on Remand (Docket No. 161) is GRANTED, in part, and

 DENIED, in part. Additionally, Plaintiffs’ Motion for Partial Summary Judgment

 (Docket No. 166) is GRANTED, in part, and DENIED, in part. The parties shall

 prepare appraisals in compliance with this order, and if they do not agree to

 resolve the issue of actual value, a HEARING is set before Magistrate Judge

 Hussmann on THURSDAY, MAY 5, 2011, at 1:00 pm., New Albany time (EDT),

 in Room 200, U.S. Courthouse, New Albany, Indiana, at which time the Court

 will issue a final judgment on the damages aspect of this case.

       SO ORDERED.


 Dated: January 11, 2011                       __________________________
                                                William G. Hussmann, Jr.
                                                United States Magistrate Judge
                                                Southern District of Indiana



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